               Case 21-30161               Doc 84          Filed 01/10/22 Entered 01/10/22 17:44:25                   Desc Main
Fill in this information to identify the case:              Document     Page 1 of 48

Debtor Name   City Church COGIC

                                        _______District
United States Bankruptcy Court for the: Western           of________
                                                District of  North Carolina

                 21-30161                                                                                              q Check if this is an
Case number:
                                                                                                                          amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                Nov 2021                                                                   Date report filed:    01/11/2022
                                                                                                                        MM / DD / YYYY

Line of business: Religious Organization                                                         NAISC code:

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           Michael A. Stevens, Sr

Original signature of responsible party       /s/Michael A. Stevens

Printed name of responsible party             Michael A. Stevens


               1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                        q
                                                                                                                             ✔       q         q
    2.   Do you plan to continue to operate the business next month?                                                         ✔
                                                                                                                             q       q         q
    3.   Have you paid all of your bills on time?                                                                            q       ✔
                                                                                                                                     q         q
    4.   Did you pay your employees on time?                                                                                 q       q         q
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                     ✔
                                                                                                                             q       q         q
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                  ✔
                                                                                                                             q       q         q
    7.   Have you timely filed all other required government filings?                                                        ✔
                                                                                                                             q       q         q
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                     ✔
                                                                                                                             q       q         q
    9.   Have you timely paid all of your insurance premiums?                                                                ✔
                                                                                                                             q       q         q
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                      q       ✔
                                                                                                                                     q         q
    11. Have you sold any assets other than inventory?                                                                       q       q
                                                                                                                                     ✔         q
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                q       ✔
                                                                                                                                     q         q
    13. Did any insurance company cancel your policy?                                                                        q       ✔
                                                                                                                                     q         q
    14. Did you have any unusual or significant unanticipated expenses?                                                      q       ✔
                                                                                                                                     q         q
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                  q       ✔
                                                                                                                                     q         q
    16. Has anyone made an investment in your business?                                                                      q       ✔
                                                                                                                                     q         q
Official Form 425C                            Monthly Operating Report for Small Business Under Chapter 11                       page 1
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Debtor Name   City Church COGIC                                                        Case number    21-30161



    17. Have you paid any bills you owed before you filed bankruptcy?                                                    q          ✔
                                                                                                                                    q     q
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                      q          ✔
                                                                                                                                    q     q


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                             $   -17,435.90
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.                                                         $   44,619.73

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
        Report the total from Exhibit D here.
                                                                                                      -$    39,655.09

    22. Net cash flow
        Subtract line 21 from line 20 and report the result here.                                                        +   $    4,964.64
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                 -12,471.26
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                       $         0.00
               (Exhibit E)




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Debtor Name   City Church COGIC                                                          Case number       21-30161



              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                    $          0.00
               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?                                                                          4
    27. What is the number of employees as of the date of this monthly report?                                                             4



              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?                              $          0.00
    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                $          0.00
    30. How much have you paid this month in other professional fees?                                                        $          0.00
    31. How much have you paid in total other professional fees since filing the case?                                       $          0.00




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                      Column B                         Column C
                                        Projected                –    Actual                   =       Difference

                                        Copy lines 35-37 from         Copy lines 20-22 of              Subtract Column B
                                        the previous month’s          this report.                     from Column A.
                                        report.
                                        $   44,150.00            –    $   44,619.73            =       $     -469.73
    32. Cash receipts
                                                                          39,655.09            =             -108.98
    33. Cash disbursements              $   39,545.11            –    $                                $

                                                                 –                             =
                                        $    4,604.89                 $    4,964.64                    $     -359.75
    34. Net cash flow


    35. Total projected cash receipts for the next month:                                                                    $     50,150.00

    36. Total projected cash disbursements for the next month:                                                              -$     40,168.44

    37. Total projected net cash flow for the next month:                                                                   =$       9,981.57




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Debtor Name    City Church COGIC                                                          Case number   21-30161



               8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    ✔
    q         38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
    q         39. Bank reconciliation reports for each account.

    ✔
    q         40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

    ✔
    q         41. Budget, projection, or forecast reports.


    q   42. Project, job costing, or work-in-progress reports.




Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                   page 4


         Print                         Save As...                                                                        Reset
                                                                                                              Exhibit C
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                                                     !"#$%&$'()*)+(



SACTION NUM NAME          CLASS   MEMO/DESCRIPTION                                                    SPLIT


enditures


UPPORT & REVENUE
 & OFFERINGS
sit          CashApp      Income 1         11/01 #000358491 PMNT RCVD         Cash App*Cash Out San   CASH -
                                 Francisco CA              CKCD 6536 XXXXXXXXXXXX8655                 UNRESTRICTED:BOA
                                                                                                      #2297 OPERATING
sit                               Deposit                                                             CASH -
                                                                                                      UNRESTRICTED:BOA
                                                                                                      #2297 OPERATING
sit                               Deposit                                                             CASH -
                                                                                                      UNRESTRICTED:BOA
                                                                                                      #2297 OPERATING
sit          GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M      CASH -
             5TH 3RD                                                                                  UNRESTRICTED:BOA
             BANKCARD                                                                                 #2297 OPERATING
             SYS
sit          GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M      CASH -
             5TH 3RD                                                                                  UNRESTRICTED:BOA
             BANKCARD                                                                                 #2297 OPERATING
             SYS
sit                               Deposit                                                             CASH -
                                                                                                      UNRESTRICTED:BOA
                                                                                                      #2297 OPERATING
sit          SUNTRUST             SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY            CASH -
             MERCHNT              CHURCH CO ID:1593177343 CCD                                         UNRESTRICTED:BOA
             DES                                                                                      #2297 OPERATING
sit          GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M      CASH -
             5TH 3RD                                                                                  UNRESTRICTED:BOA
             BANKCARD                                                                                 #2297 OPERATING
             SYS
sit          GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                       CASH -
             5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD        PMT INFO:    UNRESTRICTED:BOA
             BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                       #2297 OPERATING
             SYS                  GIV*UNIVCITYCHURNC     BC
sit                               Deposit                                                             CASH -
                                                                                                      UNRESTRICTED:BOA
                                                                                                      #2297 OPERATING
sit          SUNTRUST             SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY            CASH -
             MERCHNT              CHURCH CO ID:1593177343 CCD                                         UNRESTRICTED:BOA
             DES                                                                                      #2297 OPERATING
sit          GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                       CASH -
             5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD        PMT INFO:    UNRESTRICTED:BOA
             BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                       #2297 OPERATING
             SYS                  GIV*UNIVCITYCHURNC     BC
sit                               Deposit                                                             CASH -
                                                                                                      UNRESTRICTED:BOA
                                                                                                      #2297 OPERATING
sit                               Deposit                                                             CASH -
             Case 21-30161      Doc 84    Filed 01/10/22 Entered 01/10/22 17:44:25          Desc Main
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SACTION NUM NAME        CLASS   MEMO/DESCRIPTION                                                    SPLIT


           5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD        PMT INFO:    UNRESTRICTED:BOA
           BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                       #2297 OPERATING
           SYS                  GIV*UNIVCITYCHURNC     BC
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit        GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M      CASH -
           5TH 3RD                                                                                  UNRESTRICTED:BOA
           BANKCARD                                                                                 #2297 OPERATING
           SYS
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit        GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT CCD PMT INFO: 5/3 BANKCARD VISA/M      CASH -
           5TH 3RD                                                                                  UNRESTRICTED:BOA
           BANKCARD                                                                                 #2297 OPERATING
           SYS
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit        CashApp      Income 1         11/15 #000274538 PMNT RCVD         Cash App*Cash Out San   CASH -
                               Francisco CA              CKCD 6536 XXXXXXXXXXXX8655                 UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit        GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                       CASH -
           5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD        PMT INFO:    UNRESTRICTED:BOA
           BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                       #2297 OPERATING
           SYS                  GIV*UNIVCITYCHURNC     BC
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit        SUNTRUST             SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY            CASH -
           MERCHNT              CHURCH CO ID:1593177343 CCD                                         UNRESTRICTED:BOA
           DES                                                                                      #2297 OPERATING
sit        GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                       CASH -
           5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD        PMT INFO:    UNRESTRICTED:BOA
           BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                       #2297 OPERATING
           SYS                  GIV*UNIVCITYCHURNC     BC
sit                             Deposit                                                             CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
sit        GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                       CASH -
           5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD        PMT INFO:    UNRESTRICTED:BOA
           BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                       #2297 OPERATING
           SYS                  GIV*UNIVCITYCHURNC     BC
                Case 21-30161      Doc 84    Filed 01/10/22 Entered 01/10/22 17:44:25           Desc Main
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 SACTION NUM NAME          CLASS   MEMO/DESCRIPTION                                                     SPLIT


                                                                                                        UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
sit                                Deposit                                                              CASH -
                                                                                                        UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
sit           SUNTRUST             SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY             CASH -
              MERCHNT              CHURCH CO ID:1593177343 CCD                                          UNRESTRICTED:BOA
              DES                                                                                       #2297 OPERATING
sit                                Deposit                                                              CASH -
                                                                                                        UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
sit           SUNTRUST             SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY             CASH -
              MERCHNT              CHURCH CO ID:1593177343 CCD                                          UNRESTRICTED:BOA
              DES                                                                                       #2297 OPERATING
sit           GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                        CASH -
              5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD         PMT INFO:    UNRESTRICTED:BOA
              BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                        #2297 OPERATING
              SYS                  GIV*UNIVCITYCHURNC     BC
sit           GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                        CASH -
              5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD         PMT INFO:    UNRESTRICTED:BOA
              BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                        #2297 OPERATING
              SYS                  GIV*UNIVCITYCHURNC     BC
sit                                Deposit                                                              CASH -
                                                                                                        UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
sit           GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                        CASH -
              5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD         PMT INFO:    UNRESTRICTED:BOA
              BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                        #2297 OPERATING
              SYS                  GIV*UNIVCITYCHURNC     BC
sit                                Deposit                                                              CASH -
                                                                                                        UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
sit                                Deposit                                                              CASH -
                                                                                                        UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
sit           GIVELIFY -           5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                        CASH -
              5TH 3RD              INDN:GIV*UNIVCITYCHURNC    CO ID:XXXXX81170 CCD         PMT INFO:    UNRESTRICTED:BOA
              BANKCARD             5/3 BANKCARD VISA/MC DEP 44450265       32200                        #2297 OPERATING
              SYS                  GIV*UNIVCITYCHURNC     BC
sit           GIVELIFY -          5/3 BANKCARD SYS DES:DEPOSIT ID:XXXXX26532200                         CASH -
              5TH 3RD             INDN:GIV*UNIVCITYCHURNC       CO ID:XXXXX81170 CCD       PMT INFO:    UNRESTRICTED:BOA
              BANKCARD            5/3 BANKCARD VISA/MC DEP 44450265          32200                      #2297 OPERATING
              SYS                 GIV*UNIVCITYCHURNC        BC
sit           CashApp      Income 1         11/30 #000361044 PMNT RCVD          Cash App*Cash Out San   CASH -
                                  Francisco CA              CKCD 6536 XXXXXXXXXXXX8655                  UNRESTRICTED:BOA
                                                                                                        #2297 OPERATING
L TITHES & OFFERINGS                                                                                                       $
 ICTED SUPPORT & REVENUE                                                                                                   $
                                                                                                                           $
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NSACTION NUM NAME              CLASS        MEMO/DESCRIPTION                                        SPLIT
E


EXPENSES
 ARGES
enditure                                    Monthly Fee Business Adv Relationship                   CASH -
                                                                                                    UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
enditure                                    NSF: RETURNED ITEM FEE FOR ACTIVITY OF 11-03            CASH -
                                            CHECK #0000050352                     POSTING DATE      UNRESTRICTED:BOA
                                            11-03-21 POSTING SEQ 00001                              #2307 AUXILLARY
enditure                                    MERCHANT BANKCD DES:DEPOSIT ID:XXXXX3588884             CASH -
                                            INDN:THE CITY CHURCH - CHUR CO ID:G592126793 CCD        UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING
enditure                                    NSF: RETURNED ITEM FEE FOR ACTIVITY OF 11-18            CASH -
                                            CHECK #0000050359                     POSTING DATE      UNRESTRICTED:BOA
                                            11-18-21 POSTING SEQ 00001                              #2307 AUXILLARY
RVICE CHARGES
PTIONS


 nditure        Apple          Church       CHECKCARD 1107 PAYPAL *apple.            San Jose       CASH -
                               Expenses     CA                     CKCD 6051 XXXXXXXXXXXX8655       UNRESTRICTED:BOA
                                                                                                    #2297 OPERATING



 nditure        GODADDY.COM                 CHECKCARD 1116 DNH*GODADDY.COM                 480-     CASH -
                                            5058855 AZ 75418231320134426818208        CKCD 4816     UNRESTRICTED:BOA
                                            XXXXXXXXXXXX8655                                        #2297 OPERATING



 nditure        ShutterStock                CHECKCARD 1103 STK*Shutterstock                         CASH -
                                            8666633954 NY 12302021307000455494944 RECURRING         UNRESTRICTED:BOA
                                            CKCD 7333 XXXXXXXXXXXX8655                              #2297 OPERATING
ock


enditure        Microsoft                   CHECKCARD 1103 MSFT * E0400GAU9B                        CASH -
                                            MSBILL.INFO WA 15270211307000055203636 RECURRING        UNRESTRICTED:BOA
                                            CKCD 5045 XXXXXXXXXXXX8655                              #2297 OPERATING
enditure                                    CHECKCARD 1108 PROJECT BROADCAST                        CASH -
                                            IRVING    TX 82305091313000000352352 RECURRING          UNRESTRICTED:BOA
                                            CKCD 8299 XXXXXXXXXXXX8655                              #2297 OPERATING
enditure        HighTail Pro   MANAGEMENT CHECKCARD 1109 HIGHTAIL PRO PLAN                          CASH -
                               & GENERAL  CAMPBELL CA 82305091314000004019576 RECURRING             UNRESTRICTED:BOA
                                          CKCD 5734 XXXXXXXXXXXX8655                                #2297 OPERATING
enditure                                  PURCHASE 1116 Adobe Inc                  8008336687       CASH -
                                          CA 15270211320000093067434 RECURRING      CKCD 5817       UNRESTRICTED:BOA
                                          XXXXXXXXXXXX8655                                          #2297 OPERATING
enditure        CONSTANT       Church     PURCHASE 1120 EIG*CONSTANTCONTA                  855-     CASH -
                CONTACT        Expenses   2295506 MA 75418231324134685020385 RECURRING              UNRESTRICTED:BOA
                                          CKCD 5968 XXXXXXXXXXXX8655                                #2297 OPERATING
enditure        INTUIT         Church     CHECKCARD 1125 INTUIT *QuickBooks Onli                    CASH -
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NSACTION NUM NAME             CLASS        MEMO/DESCRIPTION                                     SPLIT
E
                                                                                                UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
 nditure      ElectriCities                Customer Withdrawal Image                            CASH -
                                                                                                UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
s


 nditure      Herring Bank                 Customer Withdrawal Image                            CASH -
                                                                                                UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
 nk
 as
enditure      PIEDMONT        Church       PIEDMONT     DES:Speedpay - ID:XXXXX41354003         CASH -
              NATURAL GAS     Expenses     INDN:CITY CHURCH      CO ID:XXXXX95210 WEB           UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
enditure      PIEDMONT        Church       PIEDMONT     DES:Speedpay - ID:XXXXX41354003         CASH -
              NATURAL GAS     Expenses     INDN:CITY CHURCH      CO ID:XXXXX95210 WEB           UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
enditure      PIEDMONT        Church       PIEDMONT     DES:Speedpay - ID:XXXXX41354004         CASH -
              NATURAL GAS     Expenses     INDN:CITY CHURCH      CO ID:XXXXX95210 WEB           UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
Natural Gas


 nditure      United Health   Church       UNITEDHEALTHONE DES:INS. PREM. ID:XXXXX3012          CASH -
              One             Expenses     INDN:         CO ID:XXXXX00018 PPD                   UNRESTRICTED:BOA
                                                                                                #2297 OPERATING
alth One


 nditure                                   CHECKCARD 1113 RESTREAM, INC.               AUSTIN   CASH -
                                           TX 82711161317000012949919 RECURRING     CKCD 5815   UNRESTRICTED:BOA
                                           XXXXXXXXXXXX8655                                     #2297 OPERATING


enses                                                                                                              $
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                                                       Document      Page 10 of 48
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                                                                 !"#$%&$'()*)+(

SACTION NUM          NAME         CLASS           MEMO/DESCRIPTION                                     SPLIT




k             2868   Steve        Contract Fees   Contract fee for 2 weeks                             CASH -
                     Dalton                                                                            UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
k             2866   Steve        Contract Fees   Musician Fee for 2 weeks                             CASH -
                     Dalton                                                                            UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
k             2865   Marc Moore   Contract Fees   Musician Fee for 2 weeks                             CASH -
                                                                                                       UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
k             2869   Marc Moore   Contract Fees   Monthly musician Fee                                 CASH -
                                                                                                       UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
k             2870   Vanessa M    Contract Fees   Admin fee                                            CASH -
                     Gilcreast                                                                         UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
k             2871   Steve        Contract Fees   musician pay                                         CASH -
                     Dalton                                                                            UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
k             2872   Howard       Contract Fees   Musician Fee                                         CASH -
                     McNair                                                                            UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
ayment


ent
nditure                                           CHECKCARD 1128 WENDYS 60               CHARLOTTE     CASH -
                                                  NC                   CKCD 5814 XXXXXXXXXXXX8655      UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
nditure                                           CHECKCARD 1128 WENDYS 60               CHARLOTTE     CASH -
                                                  NC                   CKCD 5814 XXXXXXXXXXXX8655      UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
tertainment


nditure              SUNTRUST Church              SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889       CASH -
                     MERCHANT Expenses            INDN:CITY CHURCH CO ID:1593177343 CCD                UNRESTRICTED:BOA
                                                                                                       #2297 OPERATING
T FEES
ES
k             50355 Brittany                      Check 50355                                          CASH -
                    Stinson                                                                            UNRESTRICTED:BOA
                                                                                                       #2307 AUXILLARY
k                    TImothy G.                   Check 1745                                           CASH -
                     Boddy                                                                             UNRESTRICTED:BOA
                                                                                                       #2307 AUXILLARY
 EXPENSES
E
nditure              ADP Inc.     MANAGEMENT ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 2580538          CASH -
                    Case 21-30161           Doc 84   Filed 01/10/22 Entered 01/10/22 17:44:25              Desc Main
                                                     Document      Page 11 of 48
                                                          !"#$%!&'(!&%
                                                        !"#"$%$&"'()'*+",-,".'/$"#,0'
                                                               !"#$%&$'()*)+(

SACTION NUM        NAME          CLASS          MEMO/DESCRIPTION                                                SPLIT


                                                INDN:CITY CHURCH             CO ID:XXXXX11111 CCD               UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
nditure            ADP TAX                      ADP Tax     DES:ADP Tax ID:RU5NZ 120124A01                      CASH -
                                                INDN:CITY CHURCH       CO ID:XXXXX11111 CCD                     UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
 TAXES
ES
k         1745     TImothy G.    Payroll        Replacement Check                                               CASH -
                   Boddy         Expenses                                                                       UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
k         50353 Michael A.                      Check 50353                                                     CASH -
                Stevens Sr.                                                                                     UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
k         50354 Sharon                          Check Image 50354                                               CASH -
                Stevens                                                                                         UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
k         50357 Pastor                          Check 50357                                                     CASH -
                Michael                                                                                         UNRESTRICTED:BOA
                Stevens                                                                                         #2307 AUXILLARY
k         50356 TImothy G.                      Check 50356                                                     CASH -
                Boddy                                                                                           UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
k                  Brittany                     Check 1746                                                      CASH -
                   Stinson                                                                                      UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
k         50358 Sharon                          Check 50358                                                     CASH -
                Stevens                                                                                         UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
k         1746     Brittany      Church         Pay check (reprint)                                             CASH -
                   Stinson       Expenses                                                                       UNRESTRICTED:BOA
                                                                                                                #2307 AUXILLARY
S & WAGES
EXPENSES with sub-accounts                                                                                                         $
nses
k           2867   TImothy G.    Church         Reimbursable for breakfast                                      CASH -
                   Boddy         Expenses                                                                       UNRESTRICTED:BOA
                                                                                                                #2297 OPERATING
k           2873   Michael A.    Church         Reimbursable Expenses                                           CASH -
                   Stevens Sr.   Expenses                                                                       UNRESTRICTED:BOA
                                                                                                                #2297 OPERATING
ble Expenses
nce
nditure                                         CHECKCARD 1116 MARMIC FIRE & SAF                      417-      CASH -
                                                6246117 MO 75500381321015174491267                  CKCD 5099   UNRESTRICTED:BOA
                                                XXXXXXXXXXXX8655                                                #2297 OPERATING
Maintenance
                 Case 21-30161         Doc 84     Filed 01/10/22 Entered 01/10/22 17:44:25                 Desc Main
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                                                      !"#$%!&'(!&%
                                                    !"#"$%$&"'()'*+",-,".'/$"#,0'
                                                          !"#$%&$'()*)+(

SACTION NUM NAME          CLASS      MEMO/DESCRIPTION                                                         SPLIT


nse
diture                               CHECKCARD 1111 PAYPAL                          San Jose    CA            CASH -
                                     CKCD 6051 XXXXXXXXXXXX8655                                               UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
                                     Check 2868                                                               CASH -
                                                                                                              UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
diture                               CHECKCARD 1113 PAYPAL                          San Jose    CA            CASH -
                                     CKCD 6051 XXXXXXXXXXXX8655                                               UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
diture                               CHECKCARD 1113 PAYPAL                          San Jose    CA            CASH -
                                     CKCD 6051 XXXXXXXXXXXX8655                                               UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
diture                             CHECKCARD 1114 111112228642                MOUNTAIN VIEWCA                 CASH -
                                   00000000000000000032159 RECURRING     CKCD 5734                            UNRESTRICTED:BOA
                                   XXXXXXXXXXXX2883                                                           #2297 OPERATING
diture        AMAZON      Church   CHECKCARD 1119 AMZN Mktp US*NJ23              Amzn.com/billWA              CASH -
                          Expenses 55432861323200006201019         CKCD 5942 XXXXXXXXXXXX8655                 UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
diture        AMAZON      Church   CHECKCARD 1118 AMAZON.COM*F99MX4                                           CASH -
                          Expenses AMZN.COM/BILLWA 55310201322083344501861                     CKCD 5942      UNRESTRICTED:BOA
                                   XXXXXXXXXXXX8655                                                           #2297 OPERATING
              Vanessa     Contract Check Image 2871                                                           CASH -
              M           Fees                                                                                UNRESTRICTED:BOA
              Gilcreast                                                                                       #2297 OPERATING
diture        Steve       Contract   PMNT SENT 1123 CASH APP*CITY CHU            4153753176 CA                CASH -
              Dalton      Fees       55429501327854384720629        CKCD 4829 XXXXXXXXXXXX8655                UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
diture                               CHECKCARD 1125 EXPERTFLYER                     FORT MILL SC              CASH -
                                     55207391330000329252216            CKCD 7375 XXXXXXXXXXXX8655            UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
diture        Steve       Contract   PMNT SENT 1128 CASH APP*CITY CHU             4153753176 CA               CASH -
              Dalton      Fees       55429501332855884601386         CKCD 4829 XXXXXXXXXXXX8655               UNRESTRICTED:BOA
                                                                                                              #2297 OPERATING
zed Expense
s                                                                                                                                $
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                                                                                                          Main C & D cont
                                                    Document      Page 13 of 48
                                                             November 2021                                          Print



                                                    City Church, $CityChurchCOGIC




                            $1,434.30                                               $2,107.64
                         NOV 1ST BALANCE                                         NOV 30TH BALANCE




                Sent & Received



                Nov 1                       Cheryl Atwood-Mo…      Kenya                                 $31.00
                                                                                                     Cash Balance




                Nov 1                       Cash Out               Cashed Out                        -$1000.00
                                                                                                       Debit 8655




                Nov 5                       Asonja Carter                                               $57.00
                                                                                        $-1.57 Fee
                                                                                                     Cash Balance




                Nov 7                       Teresa Reid            Tithe                                $50.00
                                                                                        $-1.38 Fee
                                                                                                     Cash Balance




                Nov 7                       Joleigh Lackey         tithe                                $20.00
                                                                                                     Cash Balance




                Nov 7                       Vanessa Gilcreast      O!ering                              $25.00
                                                                                                     Cash Balance




                Nov 7                       Regina Lackey          o!ering                              $20.00
                                                                                                     Cash Balance




                Nov 7                       Mary Cameron           Mary Cameron; 12623 C…               $20.00
                                                                                                     Cash Balance



https://cash.app/statements/November-2021                                                                                   1/6
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                Nov 8                       Michael Stevens        for Pastor Tom Ochieng Missions       -$500.00
                                                                                                        Cash Balance




                Nov 13                      anthony Cunningha…                                            -$60.00
                                                                                                        Cash Balance




                Nov 14                      John Redmond           Elder John Redmond                      $50.00
                                                                                           $-1.38 Fee
                                                                                                        Cash Balance




                Nov 14                      Monkpeh Karr           tithes                                 $125.00
                                                                                                        Cash Balance




                Nov 14                      Ross Parker                                                    $25.00
                                                                                                        Cash Balance




                Nov 14                      Regina Lackey          Tithe                                   $93.00
                                                                                                        Cash Balance




                Nov 14                      Bradford Powell        Tithe                                  $120.00
                                                                                                        Cash Balance




                Nov 14                      Bethel Christian Fe…   o!ering                               -$100.00
                                                                                                        Cash Balance




                Nov 14                      Cash Added             Transfer to Cash                       $300.00
                                                                                                          Debit 8655




                Nov 14                      Elton Benjamin         4 Di!erent Flyers                     -$500.00
                                                                                                        Cash Balance




                Nov 14                      Delorise Ragins        o!ering                                 $25.00
                                                                                                        Cash Balance




                Nov 14                      Stephanie Magwood      tithes                                  $70.00
                                                                                           $-1.92 Fee
                                                                                                        Cash Balance




                Nov 14                      Keondra Jones          Keondra Jones tithes…   $-13.75        $500.00
                                                                                                        Cash Balance




                Nov 15                      Cash Out               Cashed Out                            -$771.43
                                                                                                          Debit 8655


https://cash.app/statements/November-2021                                                                              2/6
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                Nov 17                      Charis Stevens                                                  $230.00
                                                                                                          Cash Balance




                Nov 17                      John Allen            Discount Code for Marriott                -$50.00
                                                                                                          Cash Balance




                Nov 17                      Michael Stevens                                                -$150.00
                                                                                                          Cash Balance




                Nov 17                      Michael Stevens       Reversal of prior $150 …     $-4.12       $150.00
                                                                                                          Cash Balance




                Nov 19                      Asonja Carter                                                    $40.00
                                                                                             $-1.10 Fee
                                                                                                          Cash Balance




                Nov 21                      Mary Cameron          Mary Cameron; 12623 C…                     $25.00
                                                                                                          Cash Balance




                Nov 21                      Ross Parker                                                      $25.00
                                                                                                          Cash Balance




                Nov 21                      John Redmond          Elder John Redmond                         $50.00
                                                                                             $-1.38 Fee
                                                                                                          Cash Balance




                Nov 21                      Melissa Farmer        tithe                                      $40.00
                                                                                             $-1.10 Fee
                                                                                                          Cash Balance




                Nov 23                      Cash Added            Transfer to Cash                          $200.00
                                                                                                            Debit 8655




                Nov 23                      GCFC Bishop Hutc…     Nov. 2021 Fellowship Support             -$500.00
                                                                                                          Cash Balance




                                                                                                            $200.00
                Nov 23                      Felicia Gaston        tithes                                  Cash Balance




                Nov 23                      Linda Powell          lightning                                  $29.00
                                                                                                          Cash Balance




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                Nov 23                      Melissa Pelham        Lighting Deposit- Meli…                   $30.00
                                                                                                         Cash Balance




                Nov 23                      Linette Hunt          lights                                    $60.00
                                                                                            $-1.65 Fee
                                                                                                         Cash Balance




                Nov 23                      John Redmond          Elder John Redmond                        $30.00
                                                                                                         Cash Balance




                Nov 26                      Elton Benjamin        print media for 2 "yers                 -$175.00
                                                                                                         Cash Balance




                Nov 26                      David Dye             Executive Volunteer Assistance w…       -$200.00
                                                                                                         Cash Balance




                Nov 27                      Keondra Jones         Keondra Jones tithes …                   $280.00
                                                                                                         Cash Balance




                Nov 28                      John Redmond          Elder John Redmond                        $25.00
                                                                                                         Cash Balance




                Nov 28                      Monkpeh Karr          o!ering                                   $50.00
                                                                                            $-1.38 Fee
                                                                                                         Cash Balance




                Nov 28                      Bradford Powell                                                $120.00
                                                                                                         Cash Balance




                Nov 28                      Ross Parker                                                     $20.00
                                                                                                         Cash Balance




                Nov 28                      Rodney Mccoy          guitar ministry                         -$125.00
                                                                                                         Cash Balance




                                                                                                           $200.00
                Nov 28                      Cash Added            Transfer to Cash                         Debit 8655




                Nov 28                      Michael Stevens       District O!ering Seed                   -$500.00
                                                                                                         Cash Balance




https://cash.app/statements/November-2021                                                                               4/6
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                Nov 29                      Barbara Morgan-S…    for light bill                   $1,000.00
                                                                                                  Cash Balance




                Nov 29                      Barbara Morgan-S…    tithes                           $1,000.00
                                                                                                  Cash Balance




                Nov 29                      Monica K             monica Hall tithes                  $100.00
                                                                                                  Cash Balance




                Nov 30                      Cash Out             Cashed Out                       -$2107.64
                                                                                                    Debit 8655




                Card Payments



                    No transactions this month




                Fees




                Direct Deposit Account



                Routing Number                                                                    041215663
                Account Number                                                                    88 · · · · · ·

                Balance on Nov 1st                                                                      $ 0 .0 0
                Balance on Nov 30th                                                                     $ 0 .0 0




https://cash.app/statements/November-2021                                                                          5/6
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P.O. Box 15284
Wilmington, DE 19850                                                                                 Customer service information


                                                                                                     1.888.BUSINESS (1.888.287.4637)

                                                                                                     bankofamerica.com
  CITY CHURCH
                                                                                                     Bank of America, N.A.
  1994 UNIVERSITY CITY CHURCH DR
                                                                                                     P.O. Box 25118
  HUNTERSVILLE, NC 28078-8236
                                                                                                     Tampa, FL 33622-5118




Your Business Advantage Relationship Banking
for November 1, 2021 to November 30, 2021                                                      Account number: -2297
CITY CHURCH

Account summary
Beginning balance on November 1, 2021                                         $457.28    #   of deposits/credits: 57
Deposits and other credits                                                   41,578.27   #   of withdrawals/debits: 59
Withdrawals and other debits                                                -29,766.19   #   of items-previous cycle 1: 64
Checks                                                                       -9,116.45   #   of days in cycle: 30
Service fees                                                                    -29.95   Average ledger balance: $1,840.72

Ending balance on November 30, 2021                                         $3,122.96    'Includes checks paid.deposited items&other debits




PULL: E CYCLE: 57   SPEC: E DELIVERY: E TYPE:   IMAGE: I   BC: NC                                                                  Page 1 of 12
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CITY CHURCH I Account#             2297 I November 1, 2021 to November 30, 2021
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions. direct deposits or withdrawals. point-
of-sale transactions) on the statement or receipt. telephone or write us at the address and number listed on the front ofthis
statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on which
the error or problem appeared.

    -   Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
        Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


<O 2021 Bank of America Corporation



                          Bank of America, N.A. Member FDIC and    1=)'      Equal Housing Lender




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                                                                                                          Your checking account

CITY CHURCH     I   Account #              297   I   November 1, 2021 to November 30, 2021


       Important change regarding ATM withdrawals that overdraw your account.

       Starting February 16, 2022, customers will no longer be given the opportunity to agree to our overdraft practices to make an ATM
       withdrawal that overdraws their account. Going forward, if an ATM withdrawal amount is more than the available balance, we will
       decline the transaction.

       We are here to help
       If you have questions or you would like to discuss this change to our overdraft practices, please call the number on your statement or
       schedule an appointment at bankofamerica.com/appointments.



       The United States Postal Service (USPS) began changing first class mail delivery timeframes in October. This change may result in
       mailed statements, new or replacement cards and payments you mail taking longer to arrive. For fast and easy access to your account
       information and to schedule payments 24/7 for your Bank of America credit card and loan accounts, use our Mobile Banking app and
       Online Banking digital solutions.

       Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices. Message and data rates may apply.




Deposits and other credits
Date           Description                                                                                                                              Amount

11/01/21       Deposit                                                                                                                               2,722.00

ll /01/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                                CO                               2,558.57
               ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
               GIV*UNIVCITYCHURNC     BC

11/01/21                     11/01 #000358491 PMNT RCVD Cash App*Cash Out San Francisco CA                                                            1,000.00

11/01/21       MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR                                CO                                925.00
               ID:GXXXXXXXXX CCD

11/01/21       MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR                                CO                                150.00
               ID:GXXXXXXXXX CCD

11/01/21       5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                                CO                                    77.38
               ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
               GIV*UNIVCITYCHURNC     BC

11/02/21       SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH                                   CO                                  2,275.00
               ID:1593177343 CCD
                                                                                                                                        continued on the next page




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CITY CHURCH   I   Account #        2297   I       Document      Page 21 of 48
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Deposits and other credits - continued
Date          Description                                                                                            Amount

11/02/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                          96.80
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD  VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/03/21      Deposit                                                                                              6,587.50

11/03/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                        348.96
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD   VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/05/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                        349.26
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD   VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/05/21      SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH         CO                             155.00
              ID:1593177343 CCD

11/08/21      Deposit                                                                                              1,909.00

11/08/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                        300.41
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/08/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                             256.00
              ID:GXXXXXXXXX CCD

11/08/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                        171.08
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC       BC

11/08/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                               84.00
              ID:GXXXXXXXXX CCD

11/09/21      SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH         CO                             906.00
              ID:1593177343 CCD

11/09/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                          96.80
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD   VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/10/21      Online Banking transfer from CHK 2307 Confirmation# 1457741173                                         200.00

11/10/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                          48.25
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/12/21      Online Banking transfer from CHK 2307 Confirmation# 1566903080                                       1,020.00

11/12/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                        251.00
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/12/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                             102.23
              ID:GXXXXXXXXX CCD

11/12/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                          96.80
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD   VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/12/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                4.01
              ID:GXXXXXXXXX CCD

11/15/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC        CO                      2,169.55
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD   VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

                                                                                                     continued on the next page




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CITY CHURCH   I   Account #                 I   November 1, 2021 to November 30, 2021




Deposits and other credits - continued
Date          Description                                                                                                       Amount

11/15/21      Deposit                                                                                                         1,616.00

11/15/21                    11/15 #000274538 PMNT RCVD Cash App*Cash Out San Francisco CA                                       771.43

11/15/21      MERCHANT BANKCD         DES:DEPOSIT      ID:496443588884 INDN:THE CITY CHURCH - CHUR    CO                        480.00
              ID:GXXXXXXXXX CCD

11/15/21      MERCHANT BANKCD DES:DEPOSIT              ID:496443588884 INDN:THE CITY CHURCH - CHUR    CO                            1.00
              ID:GXXXXXXXXX CCD

11/15/21      MERCHANT BANKCD DES:DEPOSIT              ID:496443588884 INDN:THE CITY CHURCH - CHUR    CO                            1.00
              ID:GXXXXXXXXX CCD

11/16/21      SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH                   CO                              440.00
              ID:1593177343 CCD

11/16/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                  CO                         242.45
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/17/21      Deposit                                                                                                         2,500.00

11/17/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                  CO                           96.80
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD   VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/17/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                          75.00
              ID:GXXXXXXXXX CCD

11/18/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                        154.32
              ID:GXXXXXXXXX CCD

11/19/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                          25.00
              ID:GXXXXXXXXX CCD

11/22/21      Deposit                                                                                                         1,864.60

11/22/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                  CO                         692.15
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/22/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                        442.00
              ID:GXXXXXXXXX CCD

11/22/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                          90.00
              ID:GXXXXXXXXX CCD

11/22/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                  CO                           48.25
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/23/21      SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH                   CO                              195.00
              ID:1593177343 CCD

11/24/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                  CO                         136.68
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/24/21      MERCHANT BANKCD DES:DEPOSIT ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                                        130.00
              ID:GXXXXXXXXX CCD
                                                                                                                continued on the next page




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Deposits and other credits - continued
Date          Description                                                                                                        Amount

11/24/21      SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH                     co                               70.00
              ID:1593177343 CCD

11/26/21      Online Banking transfer from CHK 2307 Confirmation# 3295274196                                                     299.00

11/26/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                   CO                         153.67
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/29/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                   CO                      1,647.92
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/29/21      Deposit                                                                                                         1,388.00

11/29/21      MERCHANT BANKCD DES:DEPOSIT               ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                           435.00
              ID:GXXXXXXXXX CCD

11/29/21      S/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                   CO                         282.31
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/29/21      5/3 BANKCARD SYS DES:DEPOSIT ID:4445026532200 INDN:GIV*UNIVCITYCHURNC                   CO                         242.45
              ID:1310281170 CCD PMT INFO: 5/3 BANKCARD VISA/MC DEP 44450265 32200
              GIV*UNIVCITYCHURNC     BC

11/29/21      MERCHANT BANKCD DES:DEPOSIT               ID:496443588884 INDN:THE CITY CHURCH - CHUR    CO                          90.00
              ID:GXXXXXXXXX CCD

11/30/21                    11/30 #000361044 PMNT RCVD Cash App*Cash Out San Francisco CA                                     2,107.64

Total deposits and other credits                                                                                        $41,578.27



Withdrawals and other debits
Date          Description                                                                                                       Amount
11/01/21      Online Banking transfer to CHK 2307 Confirmation# 1579419962                                                   -1,200.00
11/03/21      Customer Withdrawal Image                                                                                      -3,500.00
11/03/21      MERCHANT BANKCD DES:DEPOSIT               ID:496443588884 INDN:THE CITY CHURCH - CHUR CO                          -136.25
              ID:GXXXXXXXXX CCD
11/04/21      Online Banking transfer to CHK 2307 Confirmation# 3105488490                                                   -2,000.00
11/04/21      Customer Withdrawal Image                                                                                      -5,045.25
11/05/21      Customer Withdrawal Image                                                                                        -500.00
11/10/21      Online Banking transfer to CHK 2307 Confirmation# 1253580886                                                   -1,200.00
11/10/21      Online Banking transfer to CHK 2307 Confirmation# 2553589855                                                      -100.00
11/10/21      UNITEDHEALTHONE DES:INS. PREM. ID:XXXXXXXXX INDN:                          CO ID:9005900018                    -1,254.73
              PPD
11/12/21      SUNTRUST MERCHNT DES:MC VI DEP ID:275221763889 INDN:CITY CHURCH                     co                             -68.04
              ID:1593177343 CCD
11/15/21      Online Banking transfer to CHK 2307 Confirmation# 1198660308                                                   -2,727.00
11/15/21      Online Banking transfer to CHK 2307 Confirmation# 1198664287                                                       -20.00
11/17/21      Online Banking transfer to CHK 2307 Confirmation# 3416112667                                                   -1,200.00
11/19/21      Online Banking transfer to CHK 2307 Confirmation# 7132879722                                                   -3,600.00
11/22/21      Online Banking transfer to CHK 2307 Confirmation# 3559806819                                                   -1,400.00
11/26/21      Online Banking transfer to CHK 2307 Confirmation# 1193251466                                                      -150.00
11/29/21      Online Banking transfer to CHK 2307 Confirmation# 2122495337                                                      -500.00
                                                                                                                continued on the next page




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Withdrawals and other debits - continued
Date          Description                                                                                                 Amount
11/30/21      Online Banking transfer to CHK 2307 Confirmation# 2128213485                                              -2,500.00
11/30/21      PIEDMONT       DES:Speedpay - ID:6004141354003 INDN:CITY CHURCH             co                               -316.03
              ID:9102995210 WEB
11/30/21      PIEDMONT       DES:Speedpay - ID:6004141354003 INDN:CITY CHURCH             co                              -310.00
              10:9102995210 WEB
11/30/21      PIEDMONT       DES:Speedpay - ID:6004141354004 INDN:CITY CHURCH             co                                -25.86
              ID:9102995210 WEB
Card account # XXXX XXXX XXXX 2883

11/15/21      CHECKCARD 1114 111112228642 MOUNTAIN VIEWCA 00000000000000000032159                                         -161.00
              RECURRING CKCD 5734 XXXXXXXXXXXX2883 XXXX XXXX XXXX 2883
Subtotal for card account # XXXX XXXX XXXX 2883                                                                       -$161.00
Card account # XXXX XXXX XXXX 5552

11/26/21      CHECKCARD 1125 INTUIT *QuickBooks Onli CL.INTUIT.COMCA 24692161329100393292144                                -80.00
              RECURRING CKCD 5734 XXXXXXXXXXXX5552 XXXX XXXX XXXX 5552
Subtotal for card account # XXXX XXXX XXXX 5552                                                                         -$80.00
Card account # XXXX XXXX XXXX 8655

11/03/21      CHECKCARD 1103 MSFT * E0400GAU9B MSBILL.INFO WA l 52702 l l 307000055203636                                   -41.83
              RECURRING CKCD 5045 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/03/21      CHECKCARD 1103 STK*Shutterstock 8666633954 NY l 230202 l 307000455494944                                      -52.56
              RECURRING CKCD 7333 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/05/21      CHECKCARD 1104 VP*ACS TECHNOLOGI 8007367425 SC 55480771308438735704892 CKCD                                   -78.00
              7372 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/08/21      CHECKCARD 1107 PAYPAL *apple. San Jose        CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX                           -2.99
              xxxx 8655
11/09/21      CHECKCARD 1108 PROJECT BROADCAST IRVING  TX 82305091313000000352352                                           -50.00
              RECURRING CKCD 8299 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/10/21      CHECKCARD 1109 HIGHTAIL PRO PLAN CAMPBELL   CA 82305091314000004019576                                        -10.00
              RECURRING CKCD 5734 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/12/21      CHECKCARD 1111 PAYPAL San Jose         CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX XXXX                           -17.15
              8655
11/15/21      CHECKCARD 1113 PAYPAL San Jose         CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX XXXX                           -24.90
              8655
11/15/21      CHECKCARD 1113 PAYPAL San Jose         CA CKCD 6051 XXXXXXXXXXXX8655 XXXX XXXX XXXX                             -7.50
              8655
11/15/21      CHECKCARD 1113 RESTREAM, INC. AUSTIN    TX 82711161317000012949919 RECURRING                                  -19.00
              CKCD 5815 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/15/21      PMNT SENT 1114 CASH APP*CITY CHU 4153753176 CA 55429501318740312680707 CKCD                                  -300.00
              4829 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/16/21      PURCHASE 1116 Adobe Inc 8008336687 CA                                                                         -32.16
11/17/21      CHECKCARD 1116 DNH*GODADDY.COM 480-5058855 AZ 75418231320134426818208 CKCD                                    -65.94
              4816 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/18/21      CHECKCARD 1116 MARMIC FIRE & SAF 417-6246117 MO 75500381321015174491267 CKCD                                 -353.93
              5099 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/18/21      CHECKCARD 1117 COLONIAL LIFE INS 8003254368            SC 55480771322026717064690 CKCD                         -36.51
              6300 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
                                                                                                           continued on the next page




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Withdrawals and other debits - continued
Date          Description                                                                                                       Amount
11/19/21      CHECKCARD 1119 AMZN Mktp US*NJ23 Amzn.com/billWA 55432861323200006201019 CKCD                                        -48.07
              5942 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/19/21      CHECKCARD 1118 AMAZON.COM*F99MX4 AMZN.COM/BILLWA 55310201322083344501861                                             -32.11
              CKCD 5942 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/22/21      PURCHASE       1120 EIG*CONSTANTCONTA 855-2295506 MA                                                                 -45.00
11/24/21      PMNT SENT 1123 CASH APP*CITY CHU 4153753176 CA 55429501327854384720629 CKCD                                        -200.00
              4829 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/26/21      CHECKCARD 1125 EXPERTFLYER FORT MILL SC 55207391330000329252216 CKCD 7375                                            -99.99
              XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
11/29/21      CHECKCARD 1128 WENDYS 60 CHARLOTTE NC CKCD 5814 XXXXXXXXXXXX8655 XXXX XXXX                                           -47.59
              XXXX 8655
11/29/21      CHECKCARD 1128 WENDYS 60 CHARLOTTE                   NC CKCD 5814 XXXXXXXXXXXX8655 XXXX XXXX                           -6.80
              XXXX 8655
11/29/21      PMNT SENT 1128 CASH APP*CITY CHU 4153753176 CA 55429501332855884601386 CKCD                                        -200.00
              4829 XXXXXXXXXXXX8655 XXXX XXXX XXXX 8655
Subtotal for card account # XXXX xxxx              xxxx 8655                                                             -$1,772 03
Total withdrawals and other debits                                                                                      ·$29,766.19


Checks
Date          Check#                                     Amount                  Date             Check#                           Amount
11/01/21      2861                                      -750.00                  11/12/21         2868                           -300.00
11/01/21      2862                                    -3,500.00                  11/08/21         2869                         -1,000.00
11/12/21      2863                                      -125.00                  11/15/21         2870                           -750.00
11/01/21      2864                                      -125.00                  11/22/21         2871                           -300.00
11/09/21      2865                                    -1,000.00                  11/23/21         2872                           -200.00
11/08/21      2867'                                       -66.45                 11/26/21         2873                         -1,000.00

                                                                                 Total checks                             -$9,116.45
                                                                                 Total # of checks                                12
* There is a gap in sequential check numbers



Service fees


                                               Total for this period             Total year-to-date

   Total Overdraft fees                               $0.00                             $140.00

   Total NSF: Returned Item fees                      $0.00                             $140.00




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CITY CHURCH I Account #                    2297 I November 1, 2021 to November 30, 2021




Service fees - continued
Based on the activity on your business accounts for the statement period ending 10/29/21, a Monthly Fee was charged for your primary
Business Advantage Relationship Banking account. You can avoid the fee in the future by meeting one of the requirements below:
        $15,000+ combined average monthly balance in linked business accounts
        Become a member of Preferred Rewards for Business

For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please call
1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

Date           Transaction description                                                                                                 Amount

11/01/21       Monthly Fee Business Adv Relationship                                                                                   -29.95

Total service fees                                                                                                                  -$29.95
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                Balance($)       Date                            Balance($)     Date                          Balance($)

11/01                                    2,285.28    11/10                                 31.28    11/22                           1,581.56
11/02                                    4,657.08    11/12                                995.13    11/23                           1,576.56
11/03                                    7,862.90    11/15                            2,024.71      11/24                           1,713.24
11/04                                     817.65     11/16                            2,675.00      11/26                              835.92
11/05                                     743.91     11/17                            4,080.86      11/29                           4,167.21
11/08                                    2,394.96    11/18                            3,844.74      11/30                           3,122.96
11/09                                    2,347.76    11/19                                189.56




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BANKOFAMERICAQ
CITY CHURCH                    I Account#            2297   I November 1. 2021 to November 30, 2021

Check images
Account number: :                                 2297
Check number: 2861                     I    Amount: $750.00                          Check number: 2862   I   Amount: $3,500.00




Check number: 2863                     I    Amount: $125.00                          Check number: 2864   I   Amount: $125.00




               Rodr.:,vt.




Check number: 2865                     I    Amount: $1,000.00                        Check number: 2867 I Amount: $66.45

                                                                                      'ii




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Check number: 2868                     I    Amount: $300.00                          Check number: 2869       Amount: $1,000.00




Check number: 2870                    I    Amount: $750.00                           Check number: 2871   I Amount: $300.00




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BANKOFAMERICAQ
CITY CHURCH I Account# :          297   I November 1. 2021 to November 30, 2021

Check images - continued
Account number:             2297
Check number: 287l I Amount: $200.00                             Check number: 2873            I   Amount: $1,000.00

                                                                  p                                                                       2873  I
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P.O. Box 15284
Wilmington, DE 19850                                                                                 Customer service information


                                                                                                     1.888.BUSINESS (1.888.287.4637)

                                                                                                     bankofamerica.com
  CITY CHURCH
                                                                                                     Bank of America, N.A.
  1994 UNIVERSITY CITY CHURCH DR
                                                                                                     P.O. Box 25118
  HUNTERSVILLE, NC 28078-8236
                                                                                                     Tampa, FL 33622-5118




Your Business Advantage Relationship Banking
for November 1, 2021 to November 30, 2021                                                       Account number: -2307
CITY CHURCH

Account summary
Beginning balance on November 1, 2021                                        $1,121.88   #   of deposits/credits: 13
Deposits and other credits                                                   16,682.00   #   of withdrawals/debits: 21
Withdrawals and other debits                                                 -5,362.69   # of   items-previous cycle1: 0
Checks                                                                      -10,565.15   #   of days in cycle: 30
Service fees                                                                    -70.00   Average ledger balance: $887.14

Ending balance on November 30, 2021                                         $1,806.04    'Includes checks paid.deposited items&other debits




PULL: E CYCLE: 57   SPEC: E DELIVERY: E TYPE:   IMAGE: I   BC: NC                                                                  Page 1 of 8
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions. direct deposits or withdrawals. point-
of-sale transactions) on the statement or receipt. telephone or write us at the address and number listed on the front ofthis
statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on which
the error or problem appeared.

    -   Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
        Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


<O 2021 Bank of America Corporation



                          Bank of America, N.A. Member FDIC and    1=)'      Equal Housing Lender




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CITY CHURCH    I   Account #                     I November 1, 2021 to November 30, 2021

       Important change regarding ATM withdrawals that overdraw your account.

       Starting February 16, 2022, customers will no longer be given the opportunity to agree to our overdraft practices to make an ATM
       withdrawal that overdraws their account. Going forward, if an ATM withdrawal amount is more than the available balance, we will
       decline the transaction.

       We are here to help
       If you have questions or you would like to discuss this change to our overdraft practices, please call the number on your statement or
       schedule an appointment at bankofamerica.com/appointments.



       The United States Postal Service (USPS) began changing first class mail delivery timeframes in October. This change may result in
       mailed statements, new or replacement cards and payments you mail taking longer to arrive. For fast and easy access to your account
       information and to schedule payments 24/7 for your Bank of America credit card and loan accounts, use our Mobile Banking app and
       Online Banking digital solutions.

       Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices. Message and data rates may apply.




Deposits and other credits
Date           Description                                                                                                                              Amount

11/01/21       Online Banking transfer from CHK 2297 Confirmation# 1579419962                                                                         1,200.00

11/04/21       Online Banking transfer from CHK 2297 Confirmation# 3105488490                                                                         2,000.00

11/10/21       Online Banking transfer from CHK 2297 Confirmation# 1253580886                                                                         1,200.00

11/10/21       Online Banking transfer from CHK 2297 Confirmation# 2553589855                                                                           100.00

11/15/21       Online Banking transfer from CHK 2297 Confirmation# 1198660308                                                                         2,727.00

11/15/21       Online Banking transfer from CHK 2297 Confirmation# 1198664287                                                                             20.00

11/17/21       Online Banking transfer from CHK 2297 Confirmation# 3416112667                                                                         1,200.00

11/19/21       Online Banking transfer from CHK 2297 Confirmation# 7132879722                                                                         3,600.00

11/22/21       Online Banking transfer from CHK 2297 Confirmation# 3559806819                                                                         1,400.00

11/24/21       ADP PAYROLL FEES DES:ADP- FEES ID:2R5NZ 5241701 INDN:City Church                               co                                          85.00
               ID:9659605001 CCD

11/26/21       Online Banking transfer from CHK 2297 Confirmation# 1193251466                                                                           150.00
                                                                                                                                         continued on the next page




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CITY CHURCH I Account #               2307          Document
                                               I November               Page30,33
                                                          1, 2021 to November     of
                                                                                  48
                                                                                2021




Deposits and other credits - continued
Date          Description                                                                                             Amount

11/29/21      Online Banking transfer from CHK 2297 Confirmation# 2122495337                                          500.00

11/30/21      Online Banking transfer from CHK 2297 Confirmation# 2128213485                                         2,500.00

Total deposits and other credits                                                                                $16,682.00



Withdrawals and other debits
Date          Description                                                                                             Amount

11/02/21      ADP Tax       DES:ADP Tax ID:RU5NZ 110322A01 INDN:CITY CHURCH                  co                     -1,194.44
              ID:1941711111 CCD

11/05/21      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 2580538 INDN:City Church                   co                      -58.46
              ID:9659605001 CCD

11/10/21      Online Banking transfer to CHK 2297 Confirmation# 1457741173                                           -200.00

11/12/21      Online Banking transfer to CHK 2297 Confirmation# 1566903080                                          -1,020.00

11/12/21      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 0220463 INDN:City Church                   co                      -58.46
              ID:9659605001 CCD

11/17/21      ADP Tax      DES:ADP Tax ID:RU5NZ 111723A01 INDN:CITY CHURCH                   co                     -1,194.44
              ID:1941711111 CCD

11/19/21      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 3414850 INDN:City Church                   co                      -85.00
              ID:9659605001 CCD

11/26/21      Online Banking transfer to CHK 2297 Confirmation# 3295274196                                           -299.00

11/26/21      ADP PAYROLL FEES DES:ADP - FEES ID:2R5NZ 5241699 INDN:City Church                   co                      -58.46
              ID:9659605001 CCD

11/30/21      ADP Tax       DES:ADP Tax        ID:RU5NZ 120124A01 INDN:CITY CHURCH           co                     -1,194.43
              ID:1941711111 CCD

Total withdrawals and other debits                                                                               -$5,362.69




Checks
Date          Check#                                    Amount                 Date      Check#                       Amount

11/08/21      1745                                    -1,001.19               11/04/21   50355                       -277.05
11/23/21      1746                                     -277.05                11/23/21   50356                      -1,001.19

11/01/21      50348*                                  -1,001.19               11/19/21   50357                      -1,967.93
11/15/21      50353*                                  -1,967.92               11/23/21   50358                      -1,535.81
11/15/21      50354                                   -1,535.82

                                                                              Total checks                      -$10,565.15
                                                                              Total# of checks                                9
* There is a gap in sequential check numbers




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                                                                                                         Your checking account
BANK OF AMERICAq
               ---

CITY CHURCH     I   Account # :             307   I    November 1, 2021 to November 30, 2021




Service fees


                                                      Total for this period            Total year-to-date

   Total Overdraft fees                                      $0.00                             $175.00
   Total NSF: Returned Item fees                            $70.00                             $175.00



          Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
        your payments and purchases by automatically transferring money from your linked backup accounts when needed.
          Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

Date           Transaction description                                                                                                         Amount

11/03/21       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 11-03                                                                                    -35.00
11/18/21       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 11-18                                                                                    -35.00

Total service fees                                                                                                                       -$70.00
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance($)           Date                             Balance($)     Date                           Balance($)

11/01                                    1,320.69         11/10                            1,854.55       11/22                           2,936.98
11/02                                     126.25         11/12                                 776.09     11/23                            122.93
11/03                                      91.25          11/15                                 19.35     11/24                                207.93
11/04                                    1,814.20         11/17                                  24.91    11/26                                  0.47
11/05                                    1,755.74         11/18                                 -10.09    1l /29                               500.47
11/08                                     754.55          11/19                            1,536.98       11/30                           1,806.04




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BANKOFAMERICAQ
CITY CHURCH                           I Account#[                                                   2307           I November 1. 2021 to November 30, 2021

Check images
Account number:                                                                                 307
Check number: 1745                                                         Amount: $1,001.19                                                       Check number: 1746                                       I   Amount: $277.05


                                                                                                                   91>


                                                                                                                                                          ....................




Check number: 50348                                                    I     Amount: $1,001.19                                                     Check number: 50353                                          I   Amount: $1,967.92




                                                                                                                                                                    I
                                                                                                                        $1..,fl01,li
                                                                                                                                                                                 -




Check number: 50354                                                          Amount: $1,535.82                                                     Check number: 50355                                          I   Amount: $277.05




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                            'J(a.1J;M,:..-u.t.:.




Check number: 50356                                                    I     Amount: $1,001.19                                                     Check number: 50357                                              Amount: $1,967.93




                                                                                                                                                                                                                              lO?"



Check number: 50358                                                I         Amount: $7,535.81




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                                                                                                                                                                                                     CITY CHURCH

                                                                                                                                                                  BOA #2297 OPERATING, Period Ending 11/30/2021

                                                                                                                                                                                           RECONCILIATION REPORT

                                                                                                                                                                                             Reconciled on: 12/16/2021

                                                                                                                                                                                         Reconciled by: Brittany Stinson

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                                                                                                                                                                                                                                                                                                                          USO

  Statement beginning balance                                                                                                                                                                                                                                                                                                                                                                                                     457.28
  Checks and payments cleared (5 .............................................................................................................................................................................................................................................................................................................................................................................................-38,912.59
  Deposits and other credits cleared                                                                                                                                                                                                                                                                                                                                                                                           1,578.27
  Statement ending balance                                                                                                                                                                                                                                                                                                                                                                                                     3,122.96

  Uncleared transactions as of 11/30/2021.................................................................................................................................................................................................................................................................................................................................................................................-24,430.63
  Register balance as of 11/30/2021..............................................................................................................................................................................................................................................................................................................................................................................................-21,307.67
  Cleared transactions after 11/30/2021                                                                                                                                                                                                                                                                                                                                                                                                  .00
  Uncleared transactions after 11/30/2021.................................................................................................................................................................................................................................................................................................................................................................................... -4,631.80
  Register balance as of 12/16/2021..............................................................................................................................................................................................................................................................................................................................................................................................-25,939.47



  Details

  Checks and payments cleared (59)

  DATE                                                                                 TYPE                                                                                  REF NO.                                                                              PAYEE                                                                                                                                     AMOUNT (USO)
  10/30/2021                                                                           Check                                                                                2862                                                                                  Pastor Michael Stevens                                                                                                                                  -3,500.00
  10/30/2021                                                                           Check                                                                                2861                                                                                  Vanessa M Gilcreast                                                                                                                                         -750.00
  10/31/2021                                                                           Check                                                                                2863                                                                                  Rodney McCoy                                                                                                                                                -125.00
  10/31/2021                                                                           Check                                                                                2864                                                                                  Rodney McCoy                                                                                                                                                -125.00
  11/01/2021                                                                           Transfer                                                                                                                                                                                                                                                                                                                           -1,200.00
  11/01/2021                                                                           Expense                                                                                                                                                                                                                                                                                                                                  -29.95
  11/03/2021                                                                           Check                                                                                2867                                                                                  Timothy G. Boddy                                                                                                                                              -66.45
  11/03/2021                                                                           Expense                                                                                                                                                                    ShutterStock                                                                                                                                                  -52.56
  11/03/2021                                                                           Expense                                                                                                                                                                    Microsoft                                                                                                                                                     -41.83
  11/03/2021                                                                           Expense                                                                                                                                                                                                                                                                                                                               -136.25
  11/03/2021                                                                           Expense                                                                                                                                                                    ElectriCities                                                                                                                                           -3,500.00
  11/04/2021                                                                           Expense                                                                                                                                                                    ElectriCities                                                                                                                                           -5,045.25
  11/04/2021                                                                           Transfer                                                                                                                                                                                                                                                                                                                           -2,000.00
  11/05/2021                                                                           Expense                                                                                                                                                                    ACS TECHNOLOGIES                                                                                                                                              -78.00
  11/05/2021                                                                           Expense                                                                                                                                                                    Herring Bank                                                                                                                                                -500.00
  11/07/2021                                                                           Check                                                                                2865                                                                                  Marc Moore                                                                                                                                              -1,000.00
  11/07/2021                                                                           Check                                                                                2868                                                                                  Steve Dalton                                                                                                                                                -300.00
  11/07/2021                                                                           Check                                                                                2869                                                                                  Marc Moore                                                                                                                                              -1,000.00
  11/08/2021                                                                           Expense                                                                                                                                                                    Apple                                                                                                                                                           -2.99
  11/09/2021                                                                           Expense                                                                                                                                                                                                                                                                                                                                  -50.00
  11/10/2021                                                                           Expense                                                                                                                                                                    United Health One                                                                                                                                       -1,254.73
  11/10/2021                                                                           Transfer                                                                                                                                                                                                                                                                                                                             -100.00
  11/10/2021                                                                           Transfer                                                                                                                                                                                                                                                                                                                           -1,200.00



                                                                                                                                                                                                                                                                                                                                                                                                                                          1/6
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  DATE                                       TYPE                    Document
                                                                      REF NO.      Page 39 of 48PAYEE                               AMOUNT (USO)
  11/10/2021                                 Expense                                           HighTail Pro                                -10.00
  11/12/2021                                 Expense                                           SUNTRUST MERCHANT                           -68.04
  11/12/2021                                 Expense                                                                                       -17.15
  11/12/2021                                 Check                                                                                        -300.00
  11/15/2021                                 Transfer                                                                                      -20.00
  11/15/2021                                 Check                    2870                     Vanessa M Gilcreast                        -750.00
  11/15/2021                                 Transfer                                                                                    -2,727.00
  11/15/2021                                 Expense                                                                                         -7.50
  11/15/2021                                 Expense                                                                                       -24.90
  11/15/2021                                 Expense                                                                                      -161.00
  11/15/2021                                 Expense                                                                                       -19.00
  11/16/2021                                 Expense                                                                                       -32.16
  11/17/2021                                 Expense                                           GODADDY.COM                                 -65.94
  11/17/2021                                 Transfer                                                                                    -1,200.00
  11/18/2021                                 Expense                                           Colonial Life                               -36.51
  11/18/2021                                 Expense                                                                                      -353.93
  11/19/2021                                 Transfer                                                                                    -3,600.00
  11/19/2021                                 Expense                                           AMAZON                                       -32.11
  11/19/2021                                 Expense                                           AMAZON                                      -48.07
  11/21/2021                                 Check                    2871                     Steve Dalton                               -300.00
  11/22/2021                                 Expense                                           CONSTANT CONTACT                            -45.00
  11/22/2021                                 Transfer                                                                                    -1,400.00
  11/23/2021                                 Check                    2872                     Howard McNair                              -200.00
  11/24/2021                                 Expense                                           Steve Dalton                               -200.00
  11/26/2021                                 Check                    2873                     Michael A. Stevens Sr.                    -1,000.00
  11/26/2021                                 Expense                                           INTUIT QUICKBOOKS                           -80.00
  11/26/2021                                 Expense                                                                                       -99.99
  11/26/2021                                 Transfer                                                                                     -150.00
  11/29/2021                                 Transfer                                                                                     -500.00
  11/29/2021                                 Expense                                                                                       -47.59
  11/29/2021                                 Expense                                           Steve Dalton                               -200.00
  11/29/2021                                 Expense                                                                                         -6.80
  11/30/2021                                 Expense                                           PIEDMONT NATURAL GAS                       -310.00
  11/30/2021                                 Expense                                           PIEDMONT NATURAL GAS                        -25.86
  11/30/2021                                 Expense                                           PIEDMONT NATURAL GAS                       -316.03
  11/30/2021                                 Transfer                                                                                    -2,500.00

  Total                                                                                                                               -38,912.59


  Deposits and other credits cleared (57)

  DATE                                       TYPE                     REF NO.                  PAYEE                                AMOUNT (USO)
  11/01/2021                                 Deposit                                                                                       925.00
  11/01/2021                                 Deposit                                                                                     2,722.00
  11/01/2021                                 Deposit                                           CashApp                                   1,000.00
  11/01/2021                                 Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS              77.38
  11/01/2021                                 Deposit                                                                                       150.00


                                                                                                                                                2/6
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  DATE                TYPE                    Document
                                               REF NO.      Page 40 of 48PAYEE                            AMOUNT (USO)
  11/01/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS        2,558.57
  11/02/2021          Deposit                                           SUNTRUST MERCHNT DES                   2,275.00
  11/02/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS           96.80
  11/03/2021          Deposit                                                                                  6,587.50
  11/03/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          348.96
  11/05/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          349.26
  11/05/2021          Deposit                                           SUNTRUST MERCHNT DES                     155.00
  11/08/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          300.41
  11/08/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          171.08
  11/08/2021          Deposit                                                                                    256.00
  11/08/2021          Deposit                                                                                  1,909.00
  11/08/2021          Deposit                                                                                     84.00
  11/09/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS           96.80
  11/09/2021          Deposit                                           SUNTRUST MERCHNT DES                     906.00
  11/10/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS           48.25
  11/10/2021          Transfer                                                                                   200.00
  11/12/2021          Deposit                                                                                      4.01
  11/12/2021          Deposit                                                                                    102.23
  11/12/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS           96.80
  11/12/2021          Transfer                                                                                 1,020.00
  11/12/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          251.00
  11/15/2021          Deposit                                                                                      1.00
  11/15/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS        2,169.55
  11/15/2021          Deposit                                                                                      1.00
  11/15/2021          Deposit                                           CashApp                                  771.43
  11/15/2021          Deposit                                                                                    480.00
  11/15/2021          Deposit                                                                                  1,616.00
  11/16/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          242.45
  11/16/2021          Deposit                                           SUNTRUST MERCHNT DES                     440.00
  11/17/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS           96.80
  11/17/2021          Deposit                                                                                     75.00
  11/17/2021          Deposit                                                                                  2,500.00
  11/18/2021          Deposit                                                                                    154.32
  11/19/2021          Deposit                                                                                     25.00
  11/22/2021          Deposit                                                                                  1,864.60
  11/22/2021          Deposit                                                                                     90.00
  11/22/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS           48.25
  11/22/2021          Deposit                                                                                    442.00
  11/22/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          692.15
  11/23/2021          Deposit                                           SUNTRUST MERCHNT DES                     195.00
  11/24/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          136.68
  11/24/2021          Deposit                                                                                    130.00
  11/24/2021          Deposit                                           SUNTRUST MERCHNT DES                      70.00
  11/26/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          153.67
  11/26/2021          Transfer                                                                                   299.00
  11/29/2021          Deposit                                                                                     90.00
  11/29/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS          282.31
  11/29/2021          Deposit                                           GIVELIFY - 5TH 3RD BANKCARD SYS        1,647.92

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  11/29/2021                                Deposit                                                                                      435.00
  11/29/2021                                Deposit                                                                                    1,388.00
  11/29/2021                                Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS             242.45
  11/30/2021                                Deposit                                          CashApp                                   2,107.64

  Total                                                                                                                              41,578.27


  Additional Information

  Uncleared checks and payments as of 11/30/2021

  DATE                                       TYPE                   REF NO.                  PAYEE                                AMOUNT (USO)
  01/04/2021                                 Expense                                         BANK SERVICES CHARGES                        -29.95
  01/05/2021                                 Expense                                                                                     -35.00
  01/06/2021                                 Expense                                                                                     -35.00
  01/11/2021                                 Expense                                         INTUIT QUICKBOOKS                           -70.00
  01/15/2021                                 Expense                                                                                     -35.00
  02/01/2021                                 Expense                                         BANK SERVICES CHARGES                        -29.95
  02/03/2021                                Transfer                                                                                   -3,000.00
  02/23/2021                                Expense                                                                                      -35.00
  02/23/2021                                 Expense                                         BANK SERVICES CHARGES                     -1,000.00
  03/01/2021                                 Expense                                                                                      -29.95
  03/05/2021                                Transfer                                                                                      -10.00
  03/15/2021                                Transfer                                                                                   -2,600.00
  04/01/2021                                 Expense                                                                                     -29.95
  04/05/2021                                 Expense                                                                                    -875.00
  04/06/2021                                Transfer                                                                                   -2,000.00
  04/08/2021                                Transfer                                                                                   -1,000.00
  04/16/2021                                 Expense                                                                                    -171.31
  04/19/2021                                Expense                                                                                     -294.31
  06/02/2021                                Transfer                                                                                    -500.00
  06/29/2021                                 Check                  2806                     Vanessa M Gilcreast                        -750.00
  06/30/2021                                Transfer                                                                                   -4,500.00
  09/07/2021                                 Check                                                                                       -400.00
  09/07/2021                                 Check                                           Pastor Michael Stevens                    -3,500.00
  10/03/2021                                 Check                  2853                     Steve Dalton                               -750.00
  10/04/2021                                 Check                                                                                     -2,500.00
  11/01/2021                                Transfer                                                                                   -1,200.00
  11/22/2021                                Check                                            Vanessa M Gilcreast                         -300.00
  11/26/2021                                Transfer                                                                                   -1,000.00

  Total                                                                                                                             -26,680.42


  Uncleared deposits and other credits as of 11/30/2021

  DATE                                       TYPE                   REF NO.                  PAYEE                                AMOUNT (USO)
  01/22/2021                                Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS             524.79


                                                                                                                                              4/6
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  DATE                                    TYPE                   Document
                                                                  REF NO.      Page 42 of 48PAYEE                               AMOUNT (USO)
  02/11/2021                              Check                   2746                     Lewis Law Firm                                 0.00
  03/04/2021                              Deposit                                                                                      105.00
  03/25/2021                              Check                   2760                     Deryl Williams                                 0.00
  03/28/2021                              Check                   2763                     Deryl Williams                                 0.00
  04/07/2021                              Check                   2765                     Vanessa M Gilcreast                            0.00
  05/28/2021                              Check                   2787                     Vanessa M Gilcreast                            0.00
  06/02/2021                              Transfer                                                                                      20.00
  06/02/2021                              Transfer                                                                                     500.00
  06/27/2021                              Check                   2803                     Rodney McCoy                                  0.00
  06/29/2021                              Transfer                                                                                    1,100.00
  07/18/2021                              Check                   2814                     Marc Moore                                     0.00
  11/07/2021                              Check                   2866                     Steve Dalton                                   0.00

  Total                                                                                                                             2,249.79


  Uncleared checks and payments after 11/30/2021

  DATE                                    TYPE                    REF NO.                  PAYEE                                AMOUNT (USO)
  12/01/2021                              Check                   2878                     Ruby Lewis                                 -115.30
  12/01/2021                              Transfer                                                                                    -100.00
  12/01/2021                              Expense                                          BANK SERVICES CHARGES                        -29.95
  12/01/2021                              Transfer                                                                                   -2,000.00
  12/01/2021                              Check                   2875                     Pastor Michael Stevens                    -3,500.00
  12/01/2021                              Check                   2874                     Vanessa M Gilcreast                         -750.00
  12/02/2021                              Expense                                          INDEED                                       -64.89
  12/02/2021                              Expense                                          BP                                         -100.00
  12/03/2021                              Expense                                                                                       -76.37
  12/03/2021                              Expense                                                                                       -35.00
  12/03/2021                              Expense                                          Microsoft                                    -41.83
  12/05/2021                              Check                   2876                     Marc Moore                                -1,000.00
  12/05/2021                              Check                   2879                     Steve Dalton                                -300.00
  12/05/2021                              Check                   2880                     Rodney McCoy                               -125.00
  12/06/2021                              Expense                                                                                     -311.29
  12/06/2021                              Expense                                                                                     -311.29
  12/06/2021                              Expense                                          ShutterStock                                 -52.56
  12/06/2021                              Transfer                                                                                    -180.00
  12/07/2021                              Check                   2881                     Vanessa M Gilcreast                        -780.00
  12/07/2021                              Expense                                          ElectriCities                             -3,361.09
  12/09/2021                              Expense                                          Apple                                       -30.01
  12/10/2021                              Expense                                          HighTail Pro                                -10.00
  12/10/2021                              Expense                                          CITY OF CHARLOTTE                          -441.19
  12/13/2021                              Expense                                          Apple                                         -7.50
  12/14/2021                              Expense                                          Church Mutual                             -2,794.60
  12/14/2021                              Expense                                                                                       -19.00
  12/14/2021                              Transfer                                                                                   -1,800.00
  12/15/2021                              Check                   2883                     Steve Dalton                               -300.00
  12/15/2021                              Check                   2882                     Vanessa M Gilcreast                        -750.00


                                                                                                                                            5/6
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  DATE                                       TYPE                   Document
                                                                     REF NO.      Page 43 of 48PAYEE                            AMOUNT (USO)
  12/19/2021                                 Check                   2884                     Marc Moore                             -1,000.00

  Total                                                                                                                           -20,386.87


  Uncleared deposits and other credits after 11/30/2021

  DATE                                       TYPE                    REF NO.                  PAYEE                             AMOUNT (USO)

  12/01/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS          730.57
  12/01/2021                                 Deposit                                          SUNTRUST MERCHNT DES                     300.00
  12/01/2021                                 Deposit                                                                                   450.00
  12/03/2021                                 Deposit                                                                                   100.00
  12/05/2021                                 Check                   2877                     Marc Moore                                 0.00
  12/06/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS          154.76
  12/06/2021                                 Deposit                                                                                 3,611.00
  12/06/2021                                 Deposit                                                                                   350.00
  12/06/2021                                 Deposit                                                                                   700.00
  12/06/2021                                 Deposit                                                                                   229.00
  12/06/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS        1,093.91
  12/06/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS          353.81
  12/07/2021                                 Deposit                                          SUNTRUST MERCHNT DES                     595.00
  12/08/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS          106.51
  12/10/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS        2,717.75
  12/13/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS        1,929.88
  12/13/2021                                 Deposit                                          CashApp                                  745.65
  12/13/2021                                 Deposit                                          GIVELIFY - 5TH 3RD BANKCARD SYS           82.23
  12/14/2021                                 Deposit                                          SUNTRUST MERCHNT DES                     605.00
  12/14/2021                                 Transfer                                                                                  900.00

  Total                                                                                                                            15,755.07




                                                                                                                                            6/6
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                                                                                                                                                                                                         CITY CHURCH

                                                                                                                                                                      BOA #2307 AUXILLARY, Period Ending 11/30/2021

                                                                                                                                                                                               RECONCILIATION REPORT

                                                                                                                                                                                                 Reconciled on: 12/16/2021

                                                                                                                                                                                             Reconciled by: Brittany Stinson

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                                                                                                                                                                                                                                                                                                                             USO

  Statement beginning balance                                                                                                                                                                                                                                                                                                                                                                                                        1,121.88
  Checks and payments cleared (21 ............. ...... .......................................................... ................................................................................................. ..............................................................................................................................................   .................................................................-15,997.84
  Deposits and other credits cleared (1                                                                                                                                                                                                                                                                                                                                                                                            16,682.00
  Statement ending balance                                                                                                                                                                                                                                                                                                                                                                                                            1,806.04

  Uncleared transactions as of 11/30/2021                                                                                                                                                                                                                                                                                                                                                                                      7,257.95
  Register balance as of 11/30/2021                                                                                                                                                                                                                                                                                                                                                                                            9,063.99
  Cleared transactions after 11/30/2021                                                                                                                                                                                                                                                                                                                                                                                             .00
  Uncleared transactions after 11/30/2021                                                                                                                                                                                                                                                                                                                                                                                       -623.75
  Register balance as of 12/16/2021                                                                                                                                                                                                                                                                                                                                                                                            8,440.24



  Details

  Checks and payments cleared (21)

  DATE                                                                                   TYPE                                                                                   REF NO.                                                                                PAYEE                                                                                                                                    AMOUNT (USO)

  11/02/2021                                                                             Expense                                                                                                                                                                       ADP TAX                                                                                                                                               -1,194.44
  11/03/2021                                                                             Expense                                                                                                                                                                                                                                                                                                                                    -35.00
  11/04/2021                                                                            Check                                                                                   50355                                                                                  Brittany Stinson                                                                                                                                          -277.05
  11/05/2021                                                                            Check                                                                                   1745                                                                                   Timothy G. Boddy                                                                                                                                       -1,001.19
  11/05/2021                                                                             Expense                                                                                                                                                                       ADP Inc.                                                                                                                                                     -58.46
  11/08/2021                                                                            Check                                                                                                                                                                          Timothy G. Boddy                                                                                                                                       -1,001.19
  11/10/2021                                                                            Transfer                                                                                                                                                                                                                                                                                                                                 -200.00
  11/12/2021                                                                             Expense                                                                                                                                                                       ADP Inc.                                                                                                                                                     -58.46
  11/12/2021                                                                            Transfer                                                                                                                                                                                                                                                                                                                              -1,020.00
  11/15/2021                                                                            Check                                                                                   50353                                                                                  Michael A. Stevens Sr.                                                                                                                                 -1,967.92
  11/15/2021                                                                            Check                                                                                   50354                                                                                  Sharon Stevens                                                                                                                                         -1,535.82
  11/17/2021                                                                             Expense                                                                                                                                                                       ADP TAX                                                                                                                                               -1,194.44
  11/18/2021                                                                             Expense                                                                                                                                                                                                                                                                                                                                    -35.00
  11/19/2021                                                                            Check                                                                                   50357                                                                                  Pastor Michael Stevens                                                                                                                                 -1,967.93
  11/19/2021                                                                             Expense                                                                                                                                                                       ADP Inc.                                                                                                                                                     -85.00
  11/23/2021                                                                            Check                                                                                                                                                                          Brittany Stinson                                                                                                                                          -277.05
  11/23/2021                                                                            Check                                                                                   50358                                                                                  Sharon Stevens                                                                                                                                         -1,535.81
  11/23/2021                                                                            Check                                                                                   50356                                                                                  Timothy G. Boddy                                                                                                                                       -1,001.19
  11/26/2021                                                                            Transfer                                                                                                                                                                                                                                                                                                                                 -299.00
  11/26/2021                                                                             Expense                                                                                                                                                                       ADP Inc.                                                                                                                                                     -58.46
  11/30/2021                                                                             Expense                                                                                                                                                                       ADP TAX                                                                                                                                               -1,194.43


  Total                                                                                                                                                                                                                                                                                                                                                                                                                -15,997.84


                                                                                                                                                                                                                                                                                                                                                                                                                                             1/3
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  Deposits and other credits cleared (13)                            Document      Page 45 of 48
  DATE                                       TYPE                     REF NO.                  PAYEE                          AMOUNT (USO)
  11/01/2021                                 Transfer                                                                              1,200.00
  11/04/2021                                 Transfer                                                                              2,000.00
  11/10/2021                                 Transfer                                                                                100.00
  11/10/2021                                 Transfer                                                                              1,200.00
  11/15/2021                                 Transfer                                                                              2,727.00
  11/15/2021                                 Transfer                                                                                 20.00
  11/17/2021                                 Transfer                                                                              1,200.00
  11/19/2021                                 Transfer                                                                              3,600.00
  11/22/2021                                 Transfer                                                                              1,400.00
  11/24/2021                                 Deposit                                           ADP Inc.                               85.00
  11/26/2021                                 Transfer                                                                                150.00
  11/29/2021                                 Transfer                                                                                500.00
  11/30/2021                                 Transfer                                                                              2,500.00

  Total                                                                                                                          16,682.00


  Additional Information

  Uncleared checks and payments as of 11/30/2021

  DATE                                       TYPE                     REF NO.                  PAYEE                          AMOUNT (USO)
  05/04/2021                                 Transfer                                                                                -15.00
  05/20/2021                                 Transfer                                                                                -50.00
  06/02/2021                                 Transfer                                                                                -20.00
  07/12/2021                                 Transfer                                                                                -60.00
  07/13/2021                                 Transfer                                                                               -300.00
  07/16/2021                                 Transfer                                                                                -50.00
  07/29/2021                                 Transfer                                                                              -1,068.00
  08/22/2021                                 Check                    1746                     Rodney McCoy                         -150.00
  09/13/2021                                 Transfer                                                                               -500.00
  09/23/2021                                 Transfer                                                                               -500.00
  11/23/2021                                 Check                    1746                     Brittany Stinson                     -277.05

  Total                                                                                                                          -2,990.05


  Uncleared deposits and other credits as of 11/30/2021

  DATE                                       TYPE                     REF NO.                  PAYEE                          AMOUNT (USO)
  05/11/2021                                 Transfer                                                                                 50.00
  05/20/2021                                 Transfer                                                                                 50.00
  07/16/2021                                 Transfer                                                                                 50.00
  07/29/2021                                 Transfer                                                                              1,068.00
  09/03/2021                                 Transfer                                                                                 60.00
  09/13/2021                                 Transfer                                                                                200.00
  09/13/2021                                 Transfer                                                                              3,799.00
  09/22/2021                                 Transfer                                                                              1,300.00

                                                                                                                                          2/3
12/20/21, 10:45 AM                         Case 21-30161   Doc 84   Filed 01/10/22 Entered 01/10/22 17:44:25           Desc Main
  DATE                                       TYPE                   Document
                                                                     REF NO.      Page 46 of 48PAYEE                               AMOUNT (USO)
  09/23/2021                                 Transfer                                                                                   2,071.00
  09/27/2021                                 Transfer                                                                                     300.00
  09/27/2021                                 Transfer                                                                                     300.00
  11/26/2021                                 Transfer                                                                                   1,000.00

  Total                                                                                                                               10,248.00


  Uncleared checks and payments after 11/30/2021

  DATE                                       TYPE                    REF NO.                  PAYEE                                AMOUNT (USO)
  12/01/2021                                 Check                   50362                    Sharon Stevens                            -1,535.82
  12/01/2021                                 Check                   50361                    Pastor Michael Stevens                    -1,967.93
  12/06/2021                                 Transfer                                                                                    -300.00
  12/14/2021                                 Transfer                                                                                    -900.00

  Total                                                                                                                               -4,703.75


  Uncleared deposits and other credits after 11/30/2021

  DATE                                       TYPE                    REF NO.                  PAYEE                                AMOUNT (USO)
  12/01/2021                                 Transfer                                                                                     100.00
  12/01/2021                                 Transfer                                                                                   2,000.00
  12/06/2021                                 Transfer                                                                                     180.00
  12/14/2021                                 Transfer                                                                                   1,800.00

  Total                                                                                                                                4,080.00




                                                                                                                                               3/3
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                                                 !"#$%!&'(!&%
                                            !"#$%&'()*'+#,,'-.'/(0'1"#23'
                                                      !"#$%&$'()*)+(


                                                                                                             TOTAL
Revenue
 UNRESTRICTED SUPPORT & REVENUE
  GENERAL TITHES & OFFERINGS                                                                               40,059.27
 Total UNRESTRICTED SUPPORT & REVENUE                                                                      40,059.27
Total Revenue                                                                                             $40,059.27
GROSS PROFIT                                                                                              $40,059.27
Expenditures
 ADMINISTRATIVE EXPENSES
  BANK SERVICE CHARGES                                                                                       236.20
  DUES & SUBSCRIPTIONS
  Apple                                                                                                         2.99
  GoDaddy                                                                                                     65.94
  ShutterStock                                                                                                52.56
  SOFTWARE                                                                                                   258.99
  Total DUES & SUBSCRIPTIONS                                                                                 380.48
 Total ADMINISTRATIVE EXPENSES                                                                               616.68
 Billing Expenses
 ACS Technologies                                                                                             78.00
  Colonial Life Insurance                                                                                      36.51
  Electricities                                                                                             8,545.25
  Herring Bank                                                                                               500.00
  Piedmont Natural Gas                                                                                       651.89
  United Health One                                                                                         1,254.73
  Zoom                                                                                                         19.00
 Total Billing Expenses                                                                                    11,085.38
 Contractors
 Contract Payment                                                                                           3,550.00
 Total Contractors                                                                                          3,550.00
 Meals & Entertainment                                                                                        54.39
 MERCHANT FEES                                                                                                 68.04
 PAYROLL EXPENSES                                                                                           1,278.24
  PAYROLL SERVICE                                                                                            175.38
  PAYROLL TAXES                                                                                             3,583.31
  SALARIES & WAGES                                                                                          9,563.96
 Total PAYROLL EXPENSES                                                                                    14,600.89
 Reimbursable Expenses                                                                                      1,066.45
 Repairs & Maintenance                                                                                       353.93
 Uncategorized Expense                                                                                      1,390.72
Total Expenditures                                                                                        $32,786.48
NET OPERATING REVENUE                                                                                      $7,272.79
NET REVENUE                                                                                                $7,272.79




                               !""#$%&'(%)*)' +,-.%/0'12"2342#'560'5657'76896'!+':+;<69866'                     7=7'
                     Case 21-30161          Doc 84        Filed 01/10/22 Entered 01/10/22 17:44:25          Desc Main
                                                                CITY CHURCH
                                                          Document          BUDGET
                                                                         Page  48 of 48
                                                          NOVEMBER 2021 - JANUARY 2022
                                                                         Dec-21            Jan-22           Feb-22
                         REVENUE
ITY RENTAL INCOME                                                    $      7,150.00         $7,150.00
S & OFFERINGS                                                        $     37,000.00 $      43,000.00 $      43,000.00
REVENUE                                                              $     44,150.00 $      50,150.00 $      43,000.00


                 EXPENDITURES
STRATIVE EXPENSES
 GEMENT & GENERAL
 Service Charges                                                     $       515.00 $          515.00 $         515.00
re Rental                                                                           $        8,000.00 $       8,000.00
MANAGEMENT & GENERAL                                                 $       515.00 $        8,515.00 $       8,515.00

RUPTCY PROTECTION PLAN
gage (Protection Plan)                                               $     3,500.00
Protection Plan)                                                     $      1,600.00   $     1,600.00   $     1,600.00
                                                                     $        423.00   $       423.00   $       423.00
 Fargo                                                               $        986.00   $       986.00   $       986.00
ecured Creditors                                                     $      2,750.00   $     2,750.00   $     2,750.00
BANKRUPTCY PROTECTION PLAN                                           $      9,259.00   $     5,759.00   $     5,759.00

 & SUBSCRIPTIONS
  Technologies                                                       $        78.00    $        78.00   $        78.00
addy                                                                 $        45.00    $        45.00   $        45.00
 /Quickbooks                                                         $        21.98    $        21.98   $        21.98
 criptions (i.e.ConstantContact, ProjectBroadcast, etc)              $       122.00    $       122.00   $       122.00
ware (Apple, Adobe, Hightail, Microsoft, etc.)                       $       170.92    $       170.92   $       170.92
DUES & SUBSCRIPTIONS                                                 $       437.90    $       437.90   $       437.90

LDING REPAIR & MAINTENANCE
 eld Sanitation                                                      $        90.03
 and Landscaping                                                     $       300.00
 r's Electronic (Security Central)                                   $        60.00
 ning Company                                                        $       166.67
                                                                     $        75.00 $           75.00 $          75.00
 l BUILDING REPAIR & MAINTENANCE                                     $       691.70 $           75.00 $          75.00

RANCE
 ch Mutual Insurance (renter's insurance yr 2/3)                     $      1,298.97 $         500.00 $         500.00
ed Health One                                                        $      1,136.00 $       1,136.00 $       1,136.00
 nial Life                                                           $         36.00 $          36.00 $          36.00
 l INSURSANCE                                                        $      2,470.97 $       1,672.00 $       1,672.00

E EXPENSE & SUPPLIES
e Supplies (Staples or Office Max)                                   $        50.00    $        50.00   $        50.00
age/Shipping                                                         $        60.00    $        60.00   $        60.00
 ng/Coping                                                           $        50.00    $        50.00   $        50.00
OFFICE EXPENSE & SUPPLIES                                            $       160.00    $       160.00   $       160.00

TIES
a (sewer service)                                                    $        550.00
T                                                                    $        155.00
of Charlotte (water)                                                 $        900.00
 ric Company                                                         $      2,000.00 $       2,000.00   $     2,000.00
mont Natural Gas                                                     $        986.00
phone/Internet Service (Verizon Service)                             $        160.00 $         160.00 $         160.00
UTILITIES                                                            $      4,751.00 $       2,160.00 $       2,160.00


 CH EXPENSES
